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                                                      U.S. Department of Justice

                                                      Matthew M. Graves
                                                      United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                    February 16, 2022

VIA ECF

Dennis E. Boyle, Esq.
Blerina Jasari, Esq.
Counsel for Marshall Neefe

Peter L. Cooper, Esq.
Counsel for Charles Bradford Smith

       Re:      United States v. Marshall Neefe and Charles Bradford Smith (a.k.a. Brad Smith),
                21-CR-567 (RCL)

Dear Counsel:

        This memorializes the additional case-specific discovery the United States Attorney’s
Office for the District of Columbia has provided you since September 27, 2021:


November 1, 2021 (to both counsel by USAfx and email)

   • .mp4 of open-source video depicting assault with large metal sign frame (101GB)
   (USAfx)
   • Two screenshots from video with Neefe and Smith circled (email)


December 8, 2021 (to both counsel by USAfx)

   •   FBI Case File Manifests:
       • NEEFE Manifest 1037(redacted).xlxs
       • NEEFE Manifest 1710(redacted).xlxs
       • SMITH Manifest 1039 (redacted).xlxs
       • SMITH Manifest 1746 (redacted).xlxs
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   •   FBI Case Files:
       • NEEFE Discoverable Serials 1037 (12.7.2021).zip
       • NEEFE Discoverable Serials 1710 (12.7.2021).zip
       • SMITH_Discoverable Serials 1039 (12.8.21).zip
       • SMITH_Discoverable Serials 1746 (12.8.21).zip


January 4, 2022 (to both counsel by USAfx)

   •   Brad_Smith_Phone_Details.zip (marked sensitive under protective order) containing:
          o 13 .PNG files (“scoped” extraction of Smith’s cellphones)
   •   MN_Phone_Data.zip (marked sensitive under protective order) containing:
          o 11 .PNG files (“scoped” extraction of Neefe’s cellphone)
   •   Neefe_Phone_Review_EC.pdf (marked sensitive under protective order)

January 27, 2022 (to both counsel by Email)

   •   Summary of Superseding Indictment
   •   NEEFE & SMITH Superseding Charges Chart.pdf

February 9, 2022 (to both counsel by USAfx)

   •   Scoped_FB_images_brad_smith.zip account (marked sensitive under protective order)
       containing:
          o Activities-100000640292631 Facebook - Brad Smith-Tue Feb 01 10_42_09 EST
               2022.csv
          o 48 .jpeg files
   •   Activities-100000640292631_Facebook_-_Brad_Smith-
       Thu_Jan_13_12_18_31_EST_2022.xlsx (marked sensitive under protective order)
   •   Neefe_FB_scoped_media (marked sensitive under protective order) containing:
          o Activities-100000141409185 Facebook - Marshall Neefe-Tue Feb 01 10_48_26
               EST 2022.csv
          o 48 .jpeg files
   •   Activities-100000141409185_Facebook_-_Marshall_Neefe-
       Thu_Jan_13_09_46_22_EST_2022.xlsx (marked sensitive under protective order)


February 14, 2022 (made available for in-person pickup for counsel for Smith only)

   •   Full “unscoped” return of Smith’s cellular phones containing:
           o QPH1 – QPH5, each containing:
               Case Files
               Dependencies
               8_5X11-portable-case-quick-start.pdf
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                OpenCase.bat
   •   “Scoped” return of Neefe’s Facebook account (marked sensitive under protective
       order) containing:
          o Images (previously provided via USAfx on 2.9.22) containing:
                Activities-100000141409185 Facebook - Marshall Neefe-Tue Feb 01
                  10_48_26 EST 2022.csv
                48 .jpeg files
          o Messages containing:
                Activities-100000141409185_Facebook_-_Marshall_Neefe-
                  Thu_Jan_13_09_46_22_EST_2022.xlsx
   •   “Scoped” extraction of Neefe’s cellphone (previously produced via USAfx on 1.4.22)
       (marked sensitive under protective order) containing:
          o Neefe_Phone_Review_EC.pdf
          o 11 .PNG files

       February 15, 2022 (shipped by FedEx to counsel for Neefe only)

       •    Full “unscoped” return of Neefe’s cellphone containing:
            o Case Files
            o Dependencies
            o 8_5X11-portable-case-quick-start.pdf
            o OpenCase.bat
       •    “Scoped” return of Brad Smith’s Facebook account (marked sensitive under
            protective order) containing:
            o Images (previously provided via USAfx on 2.9.22) containing:
                 Activities-100000640292631 Facebook - Brad Smith-Tue Feb 01 10_42_09
                    EST 2022.csv
                 48 .jpeg files
            o Messages containing:
                 Activities-100000640292631_Facebook_-_Brad_Smith-
                    Thu_Jan_13_12_18_31_EST_2022.xlsx
            o Video containing:
                 24 .mp4 files
       •    “Scoped” extraction of Brad Smith’s cellular phones (marked sensitive under
            protective order) containing:
            o Smith_EC.pdf
            o 13 .PNG files (previously produced via USAfx on 1.4.22)

         This letter does not detail the government’s ongoing global discovery efforts for all
Capitol- riot defendants through evidence.com, Relativity, and USAfx. For details on those
efforts, please see the latest status of discovery memorandum the government filed on February
12, 2022 (ECF No. 41). As we informed you by email on February 14, 2022, if you need to get
access to the databases, please email Shelli Peterson of the Federal Public Defender’s office. If


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you have experienced difficulties with gaining access to the defense Relativity workspace after
applying for access, please email Deloitte.

        Please contact us if you have any issues accessing the information, and to confer regarding
pretrial discovery as provided in Fed. R. Crim. P. 16.1.

        We recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. We will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, we will provide information about
government witnesses prior to trial and in compliance with the court’s trial-management order.

       We request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. We also request that
defendants disclose prior statements of any witnesses defendant(s) intends to call to testify at any
hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). We
request that such material be provided on the same basis upon which the government will provide
defendants with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, we
request that the defense provide the government with the appropriate written notice if the defense
plans to use one of the defenses referenced in those rules. Please provide any notice within the
period required by the Rules or allowed by the Court for the filing of any pretrial motions.

       We will forward additional case-specific discovery if and as it becomes available. If you
have any questions, please feel free to contact us.

                                              Sincerely,

                                                /s/ Courtney Lee
                                              COURTNEY LEE
                                              Assistant United States Attorney
                                              D.C. Bar No. 241291
                                              202-252-7650
                                              Courtney.Lee@usdoj.gov

                                                /s/ Seth Adam Meinero
                                              SETH ADAM MEINERO
                                              Trial Attorney
                                              Detailee
                                              D.C. Bar No. 979587
                                              202-252-5847
                                              Seth.Meinero@usdoj.gov


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                            United States Attorney’s Office for the
                             District of Columbia
                            555 4th Street, N.W. – Room 10-118
                            Washington DC 20530




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